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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION


 PATS OF HENDERSON SEAFOOD &                       CASE NO. 2:21-CV-00470
 STEAKS INC

 VERSUS                                            JUDGE JAMES D. CAIN, JR.

 WESCO INSURANCE CO                                MAGISTRATE JUDGE KAY


                               MEMORANDUM RULING

        Before the Court is “Wesco Insurance Company’s Motion for Partial Summary

 Judgment Regarding Application of Named Storm Deductible” (Doc. 54). Wesco moves

 for an order finding that (1) the deductible applicable to Plaintiffs’ claims is $81,821, as

 provided in the Named Storm Percentage Deductible Endorsement (“NSD”), and (2) that

 a separate Named Percentage Deductible (of 5% of the Building Limit) applies to

 Plaintiffs’ claimed losses to the Building and Personal Property for each storm—Laura,

 Beta, and Delta.

                                FACTUAL STATEMENT

        After being hit by three named storms, Hurricanes Laura and Delta, and Tropical

 Storm Beta, Plaintiff Pats of Henderson Seafood & Steaks, Inc. (“POH”) submitted claims

 for property loss to its insurer, Wesco. POH alleges in its Complaint for Damages and

 Statutory Penalties that Wesco failed to fairly and promptly adjust its claims.
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          The commercial Property Coverage Declarations in the policy provides that the

 Limit of Insurance for the Building is $1,636,420.1 The Building and Personal Property

 Coverage Form in the Policy contains the following Deductible provision:

                BUILDING AND PERSONAL PROPERTY COVERAGE FORM

                                                   ***

          D. Deductible

                  In any one occurrence of loss or damage (hereinafter referred to as
          loss), we will first reduce the amount of loss if required by the Coinsurance
          Condition or the Agreed Value Optional Coverage. If the adjusted amount
          of loss is less than or equal to the Deductible, we will not pay for that loss.
          If the adjusted amount of loss exceeds the Deductible, we will then subtract
          the Deductible from the adjusted amount of loss and will pay the resulting
          amount or the Limit of Insurance, whichever is less.

                 When the occurrence involves loss to more than one item of Covered
          Property and separate Limits of Insurance apply, the losses will not be
          combined in determining application of the Deductible. But the Deductible
          will be applied only once per occurrence.2

          The policy further provides that “Under the terms of this endorsement, a Named

 Storm is a storm system that has been declared to be a Named Storm by the National

 Hurricane Center of the National Weather Service. . . .”3

          The 5% Named Storm Percentage Deductible equals $81,821.4 Hurricane Laura is

 a Named Storm, Tropical Storm Beta is a Named Storm, and Hurricane Delta is a Named

 Storm.




 1
   Defendant’s exhibit 1, WESCO_000022.
 2
   Id. WESCO_000161.
 3
   Id. WESCO_000208.
 4
   Id. WESCO_000208-209 and 22.

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                                    LAW AND ANALYSIS

        Plaintiffs are making claims arising out of three separate occurrences—Hurricanes

 Laura and Delta and Tropical Storm Beta. Wesco maintains that should the Court find that

 Plaintiffs’ property sustained damages as a result of each Named Storm, a separate

 deductible should be applied to each occurrence or Storm. Wesco informs the Court that

 all of Plaintiffs’ estimates reflect a $2,500 deductible as opposed to the 5% Hurricane

 deductible stated in the policy.

        Plaintiffs argue that the amount of the deductible should be made by the jury.

 Plaintiffs suggest the application of a deductible is only made in the calculation of amounts

 owed by the insurer.

        Plaintiffs further argue that Wesco’s summary judgment evidence does not satisfy

 the policy’s definition of “Named Storm.” Plaintiffs complain that the three “National

 Hurricane Center Tropical Cyclone reports[s]” were published by the National Weather

 Services, nor do they state that the maximum sustained surface winds were 39 miles per

 hour or more. Specifically, Plaintiffs argue that the documents offered by Wesco are from

 the National Hurricane Center, not the National Weather Service, as required by the policy.

 Thus, Plaintiffs posit that Wesco has failed to submit summary judgment evidence to

 satisfy its burden that Hurricanes Laura and Delta, and Tropical Storm Beta meet the

 definition of a Named Storm.

        Notably the policy contains a Named Storm Percentage Endorsement which

 provides for a NSD of 5% of the Limit of Insurance applicable to the damaged

 property. The policy provides how to calculate that deductible as follows:

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          B. Calculation of the Deductible—Specific Insurance Other Than
          Builders’ Risk

                 1. Property Not Subject to Value reporting Forms
                 In determining the amount, if any, that we will pay for loss or damage,
          we will deduct an amount equal to 1%, 2% or 5% (as shown in the Schedule)
          of the Limit(s) of Insurance applicable to the property that has sustained loss
          or damage.5

          The Court finds that the policy clearly provides how to calculate the NSD

 deductible. The NSD applies to the Building and Personal Property if both sustain

 damage.6 The Limit of Insurance for the Building is $1,636,420.7 5% of $1,636,420 is

 $81,821. The policy provides that the applicable deductible applies only once per

 occurrence; hence, there is an $81,821 deductible for each Named Storm should Plaintiffs

 prove that they sustained damage as a result of each named Storm.8

          Wesco notes that the reports that it submitted bear the logo of the National Weather

 Service.9 Each report indicates that Hurricanes Laura and Delta, and Tropical Storm Beta

 had recorded winds in excess of 39 miles per hour.10 To buttress its position, Wesco

 requests that the Court take judicial notice of the National Weather Service site as to each

 of the Named Storms which reported that Hurricane Laura had sustained winds of 150 mph

 upon landfall; Tropical Storm Beta reached is maximum intensity of 65 mph; and


 5
   Defendant’s exhibit 1, WESCO_000211.
 6
   Id. at 000208.
 7
   Is. at 000161.
 8
    Plaintiffs allege that they sustained damage as a result of Hurricane Laura on August 27, 2020, Tropical Storm
 Beta on September 21, 2020 and Hurricane Delta on October 9, 2020. Complaint, ¶ 9, Doc. 1.
 9
   Defendant’s exhibits 2, 3, and 4.
 10
    Hurricane Laura – 85 knots which translates to approximately 97.8 mph records at the Lake Charles Regional
 Airport. Defendant’s exhibit 2, p. 5.
    Hurricane Delta – 52-70 knots which translates to approximately 62.14 miles per hour. Defendant’s exhibit 4,
 pp.4-5.
    Tropical Storm Beta--40-60 knots which translates to 46-69 miles per hour. Defendant’s exhibit 3, p. 4.


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 Hurricane Delta reached category 4 intensity with sustained winds of 140 mph.11 The Court

 agrees and takes judicial notice of the reports of the National Weather Service. The three

 Named Storms clearly meet the policy’s definition of a Named Storm.

                                             CONCLUSION

         The Court finds that the policy expressly provides that a 5% deductible calculated

 to be $81,821, applies to each of the Named Storms should Plaintiffs meet their burden of

 proving they sustained damage as a result of each of the Named Storms. The Court further

 finds that there is no genuine issue of material fact for trial concerning whether or not

 Hurricanes Laura and Delta, and Tropical Storm Beta meet the policy definition of a

 Named Storm. Accordingly, the Court will grant Wesco’s Motion for Partial Summary

 Judgment in its entirety.

         THUS DONE AND SIGNED in Chambers on this 20th day of October, 2021.



                        _________________________________________
                                   JAMES D. CAIN, JR.
                            UNITED STATES DISTRICT JUDGE




 11
   https://www.weather.gov/mob/tropical_definitions; https://www.weather.gov/lch/2020Laura;
 https://www.weather.gov/lch/2020Beta; https://www.weather.gov/lch/2020Delta.

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